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                          DECLARATION OF JIN KWON

I, Jin Kwon, hereby declare as follows:

 1. I have personal knowledge of the matters stated herein and would testify to

    the same if called as a witness in Court.

 2. I am over the age of 18 years of age. I am a resident of and registered voter

    in DeKalb County, Georgia. I have been a registered voter for several years.

 3. I immigrated to the United States from Korea in 1990 when I was

    approximately 37 years old. I have been a United States citizen for

    approximately eight years.

 4. My native language is Korean and it is the language that I speak at home. I

    have limited ability to speak, read, and understand English and consider

    myself to be limited English proficient.

 5. In November 2018, I learned through a commercial on Korean TV that Asian

    Americans Advancing Justice-Atlanta was offering language assistance to

    voters who do not understand English well. I contacted Advancing Justice-

    Atlanta’s office to request an interpreter for my wife and me. I spoke to James

    and made arrangements for an interpreter to meet my wife and me at my

    polling place on Election Day.

 6. My wife and I do not have anyone else who could provide this type of

    assistance to us. Though we have two children whose English is better than

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   ours, they both currently live out of state. One lives in New Jersey, and the

   other one lives in Maryland.

7. On Election Day, Grace, an interpreter from Advancing Justice-Atlanta, met

   my wife and me at my polling place, Livsey Elementary School.

8. When Grace explained to a poll worker that she was there to assist us with

   voting, the poll worker at first tried to stop her from helping us. Grace

   continued to try to convince the poll worker that she was allowed to help us.

   The poll worker and Grace both called their supervisors for input on what to

   do.

9. At some point during this conversation, I told Grace that I was not

   comfortable writing and reading in English.

10. I believe that this whole process went on for about 10-15 minutes. During

   this time, I feared that I might not be able to vote.

11. Finally, Grace was allowed to assist us with voting after all. I felt relieved.

12. Grace then accompanied me to the voting machine and helped interpret

   what my ballot said so that I could vote with confidence.

13. Although I did not catch everything that Grace and the poll worker were

   saying to each other that day, I understood enough to know that unless Grace

   advocated for me like she did, I would not have been able to obtain her

   assistance at the voting machine. Grace and I also discussed what happened


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   with the poll worker after I voted.

14. I understand that there is a runoff election on December 4. I would like to

   vote in this election. However, I understand from Advancing Justice-Atlanta

   that the law in Georgia will not allow Grace to interpret for my wife and me

   in the runoff because she is not a family member, our caretaker, or a

   registered voter in our precinct.

15. I do not know anyone who is a registered voter in my precinct who can

   provide language assistance to me in the runoff election. In order to feel

   comfortable voting in the runoff election, I would want someone to provide

   me with language assistance at the polls.

16. With the November 6 election, I would not have felt comfortable voting

   without language assistance because I would be scared that I might make a

   mistake on my ballot.

17. Although I have wanted to vote more in the past, voting entirely in English

   is very intimidating to me. I am grateful to Advancing Justice-Atlanta for

   providing interpretation services that enabled me to vote in the November 6

   election.

18. I believe that there are a lot of Korean people my age who would also like

   to vote more but they give up because they are limited English proficient.

19. This declaration was read to me in my native language of Korean by an


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